      Case 4:23-cv-00796 Document 35 Filed on 04/01/24 in TXSD Page 1 of 8




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 ROBERT STRANGE,                                §
                                                §
        Plaintiff,                              §
                                                §
 v.                                             §
                                                            Civil Action No. 4:23-cv-00796
                                                §
 U.S. BANK TRUST COMPANY, N.A.,                 §
                                                §
        Defendant.                              §

                              DEFENDANT’S ANSWER
                     TO PLAINTIFF’S FIRST AMENDED COMPLAINT

       U.S. Bank Trust Company, N.A (“Defendant”) files its response to Plaintiff’s First

Amended Complaint (Doc. 19) (the “Amended Complaint”) as follows:

                                         PARTIES

       1.       Defendant lacks sufficient information with which to either admit or deny the

allegation in Paragraph 1 of the Amended Complaint. To the extent a response is required,

Defendant denies the allegations in Paragraph 1 of the Amended Complaint.

       2.      Defendant admits the allegations in Paragraph 2 of the Amended Complaint.

                                JURISDICTION AND VENUE

       3.      Defendant admits the allegations in Paragraph 3 of the Amended Complaint.

                                      RELEVANT FACTS

       4.      Defendant admits the subject matter of this lawsuit is the real property and

improvements thereon located at 1310 Riverview Circle, Houston, TX 77077 (the “Property”).

Defendant lacks sufficient information with which to either admit or deny the allegation in

Paragraph 4 of the Amended Complaint. To the extent a response is required, Defendant denies

the remaining allegations in Paragraph 4 of the Amended Complaint.

DEFENDANT’S ANSWER TO
PLAINTIFF’S FIRST AMENDED COMPLAINT                                                   PAGE 1
      Case 4:23-cv-00796 Document 35 Filed on 04/01/24 in TXSD Page 2 of 8




        5.      In response to the allegations in Paragraph 5 of the Amended Complaint, Defendant

admits only that Exhibit 1 to the Amended Complaint speaks for itself.

        6.      Defendant admits the allegations in Paragraph 6 of the Amended Complaint.

        7.      Defendant denies the allegations in Paragraph 7 of the Amended Complaint

        8.      Defendant denies the allegations in Paragraph 8 of the Amended Complaint.

        9.      Defendant denies the allegations in Paragraph 9 of the Amended Complaint.

        10.     In response to the allegations in Paragraph 10 of the Amended Complaint,

Defendant admits only that Exhibit 3 to the Amended Complaint speaks for itself.

                             AGENCY & RESPONDEAT SUPERIOR

        11.       Defendant denies the allegations in Paragraph 11 of the Amended Complaint.

                                    FIRST CAUSE OF ACTION:
                                   DECLARATORY JUDGMENT

        12.     Defendant incorporates by reference each of its responses contained in the

Paragraphs 1–11, above.


        13.     In response to Paragraph 13 of the Amended Complaint, Defendant admits only

that Plaintiff requests the relief stated, but denies that Plaintiff is entitled to that relief or any relief.

                    SECOND CAUSE OF ACTION: COMMON LAW FRAUD
             FRAUD IN THE INDUCEMENT OR FRAUD BY NONDISCLOSURE

        14.      Defendant incorporates by reference each of its responses contained in the

Paragraphs 1–13, above.

        15.     Defendant denies the allegations in Paragraph 15 of the Amended Complaint.

        16.     Defendant denies the allegations in Paragraph 16 of the Amended Complaint.

        17.     Defendant denies the allegations in Paragraph 17 of the Amended Complaint.

        18.     Defendant denies the allegations in Paragraph 18 of the Amended Complaint.

DEFENDANT’S ANSWER TO
PLAINTIFF’S FIRST AMENDED COMPLAINT                                                                  PAGE 2
      Case 4:23-cv-00796 Document 35 Filed on 04/01/24 in TXSD Page 3 of 8




       19.     Defendant denies the allegations in Paragraph 19 of the Amended Complaint.

       20.     Defendant denies the allegations in Paragraph 20 of the Amended Complaint.

       21.     Defendant denies the allegations in Paragraph 21 of the Amended Complaint.

       22.     Defendant denies the allegations in Paragraph 22 of the Amended Complaint.

Defendant further denies Plaintiff is entitled to any of the relief he seeks.

                                      THIRD CAUSE OF ACTION:
                                       BREACH OF CONTRACT

       23.     Defendant incorporates by reference each of its responses contained in the

Paragraphs 1–22, above.

       24.     Defendant denies the allegations in Paragraph 24 of the Amended Complaint,

including sub-paragraphs A through E thereunder.

                                FOURTH CAUSE OF ACTION:
                                 PROMISSORY ESTOPPEL

       25.     Defendant incorporates by reference each of its responses contained in the

Paragraphs 1–24, above.

       26.     Defendant denies the allegations in Paragraph 26 of the Amended Complaint,

including sub-paragraphs A through D thereunder.

                                          DAMAGES:
                                       ACTUAL DAMAGE

       27.     Defendant denies the allegations in Paragraph 27 of the Amended Complaint.

Defendant further denies Plaintiff is entitled to any of the relief he seeks.

                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       28.     Defendant denies the allegations in Paragraph 28 of the Amended Complaint.

Defendant further denies Plaintiff is entitled to any of the relief he seeks.




DEFENDANT’S ANSWER TO
PLAINTIFF’S FIRST AMENDED COMPLAINT                                                   PAGE 3
      Case 4:23-cv-00796 Document 35 Filed on 04/01/24 in TXSD Page 4 of 8




                                    EXEMPLARY DAMAGES

        29.     Defendant denies the allegations in Paragraph 29 of the Amended Complaint.

Defendant further denies Plaintiff is entitled to any of the relief he seeks.

                                       ATTORNEYS’ FEES

        30.     Defendant denies that the Plaintiff is entitled to the relief requested in Paragraph 29

of the Amended Complaint or any other relief.

                                   CONDITIONS PRECEDENT

        31.     Defendant denies the allegations in Paragraph 31 of the Amended Complaint.

                                              PRAYER

        Defendant denies each and every allegation not expressly admitted, qualified, or otherwise

pleaded herein, including, but not limited to, those contained in headings, exhibits, and the prayer

for relief. Defendant further denies Plaintiff is entitled to any of the relief he seeks.

                                             DEFENSES

        In addition to its general denial, Defendant asserts the following defenses without

conceding which party bears the burden of proof on such defenses:

        1.      Plaintiff has failed to state a claim against Defendant for which relief can be

granted.

        2.      Plaintiff’s claims against Defendant are barred by the doctrines of waiver, estoppel,

and unclean hands.

        3.      Plaintiff’s claims are barred by the terms and conditions of the Loan contract.

        4.      Plaintiff’s damages, if any, were caused in whole or in part by Plaintiff, including

but not limited to his failure to comply with the terms of his Loan, including any forbearance

relating thereto.



DEFENDANT’S ANSWER TO
PLAINTIFF’S FIRST AMENDED COMPLAINT                                                            PAGE 4
      Case 4:23-cv-00796 Document 35 Filed on 04/01/24 in TXSD Page 5 of 8




       5.       Plaintiff’s claims are barred, in whole or in part, for failure to allege and prove all

condition(s) precedent to recovery, including, but not limited to, failure to tender.

       6.       Plaintiff’s claims are barred in whole or in part by his failure to mitigate his

damages, if any.

       7.       Plaintiff’s claims are barred in whole or in part by the doctrines of equitable

subrogation, contractual subrogation, and/or quasi-contractual subrogation.

       8.       Plaintiff’s claims are barred, in whole or in part, by Plaintiff’s prior material breach

of contract.

       9.       Plaintiff’s claim for attorney’s fees is barred because Plaintiff has not asserted, and

cannot prevail on, any causes of action that would support an award of attorney’s fees. Defendant

also reserves the right to challenge the reasonableness and necessity of any attorney’s fees.

       10.      Plaintiff’s claims are barred, in whole or in part, by the savings clause in the

applicable contracts.

       11.      Plaintiff’s claims are barred, in whole or in part, by the statute of frauds, merger

doctrine, and parol evidence.

       12.      Plaintiff’s claims and damages are subject to and/or barred by the terms of any

relevant and applicable contracts and agreements, as well as the economic loss doctrine.

       13.      Plaintiff’s claims and causes of action fail based on the tolling of statute of

limitations and/ or rescission, and/or abandonment of any prior acceleration of the maturity of the

subject note.

       14.      Plaintiff’s claims and causes of action are barred in whole or in part by res judicata.

       15.      Plaintiff’s claims and causes of action are barred in whole or in part by judicial

estoppel.


DEFENDANT’S ANSWER TO
PLAINTIFF’S FIRST AMENDED COMPLAINT                                                             PAGE 5
      Case 4:23-cv-00796 Document 35 Filed on 04/01/24 in TXSD Page 6 of 8




       16.     Plaintiff’s claims and causes of action are barred in whole or in part by

proportionate responsibility.

       In addition to the defenses set forth above, Defendant reserves the right to raise any

additional defenses it may have or may discover as to Plaintiff’s claims in this lawsuit.

                          ATTORNEYS’ FEES AND COURT COSTS

       Defendant seeks its attorneys’ fees, costs, and expenses in this litigation. Defendant is

entitled to recover from Plaintiff the attorneys’ fees, costs, and expenses that it has incurred, and

will continue to incur, in enforcing its rights and remedies under the pertinent loan documents. A

party may recover attorneys’ fees when such recovery is provided for in a statute or contract. See

Holland v. Wal-Mart Stores, Inc., 1 S.W.3d 91, 95 (Tex. 1999); Travelers Indem. Co. of Conn. V.

Mayfield, 923 S.W.2d 590, 593 (Tex. 1996). In this case, Defendant is entitled to recover its

attorneys’ fees, costs, and expenses incurred in this litigation pursuant to the subject note and Deed

of Trust. Defendant also seeks all such other and further relief, at law or in equity, to which it may

be justly entitled. Defendant reserves the right to file a counterclaim for foreclosure.

                                              PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant requests that the Court, upon final

hearing hereof, render a judgment that Plaintiff take nothing by way of his claims against

Defendant, that this action be dismissed with prejudice, and that Defendant recovers its attorneys’

fees and costs and have all other relief, at law or in equity, to which it may be entitled.




DEFENDANT’S ANSWER TO
PLAINTIFF’S FIRST AMENDED COMPLAINT                                                           PAGE 6
    Case 4:23-cv-00796 Document 35 Filed on 04/01/24 in TXSD Page 7 of 8




                                      Respectfully submitted,


                                      /s/ Camille Griffith
                                      Robert T. Mowrey
                                      Texas Bar No. 14607500
                                      S.D. Bar No. 9529
                                      rmowrey@lockelord.com
                                      Camille Griffith
                                      Texas Bar No. 24034761
                                      S.D. Bar No. 3196277
                                      camille.griffith@lockelord.com
                                      LOCKE LORD LLP
                                      2200 Ross Avenue, Suite 2800
                                      Dallas, Texas 75201
                                      Telephone: (214) 740-8000
                                      Facsimile: (214) 740-8800

                                      B. David L. Foster – Attorney-in-Charge
                                      Texas Bar No. 24031555
                                      S.D. Bar No. 35961
                                      dfoster@lockelord.com
                                      LOCKE LORD LLP
                                      300 Colorado Street, Suite 2100
                                      Austin, Texas 78701
                                      Telephone: (512) 305-4700
                                      Facsimile: (512) 305-4800

                                      COUNSEL FOR TRUSTEE BANK




DEFENDANT’S ANSWER TO
PLAINTIFF’S FIRST AMENDED COMPLAINT                                             PAGE 7
     Case 4:23-cv-00796 Document 35 Filed on 04/01/24 in TXSD Page 8 of 8




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was served upon the following counsel of record via ECF and/or email pursuant to the Federal
Rules of Civil Procedure on this 1st day of April 2024:

       Robert C. Vilt
       Texas Bar No. 00788586
       VILT LAW, P.C.
       5177 Richmond Avenue, Suite 1142
       Houston, Texas 77056
       Telephone: (713) 840-7570
       Telecopier: (713) 877-1827
       Email: clay@viltlaw.com

       Counsel for Plaintiff

                                           /s/ Camille Griffith
                                           Counsel for Trustee Bank




DEFENDANT’S ANSWER TO
PLAINTIFF’S FIRST AMENDED COMPLAINT                                                   PAGE 8
